                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                        CEDAR RAPIDS DIVISION


                                  )
J&M MANUFACTURING CO. INC.,       )
                                  )   Civil Action No. 1:22-CV-00094-CJW-KEM
                    Plaintiff,    )
                                  )
v.                                )              Judge CJ Williams
                                  )     Magistrate Judge Kelly K.E. Mahoney
KINZE MANUFACTURING, INC.,        )
                                  )            ORAL ARGUMENT
                    Defendant.    )              REQUESTED
                                  )
                                  )
                                  )


     KINZE’S RESISTANCE TO J&M’S MOTIONS TO AMEND CONTENTIONS
                   (ECF 68) AND THE COMPLAINT (ECF 69)




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       By its belated effort to add an entirely new product line to the present patent

infringement case, Plaintiff appears to be attempting to further its efforts to avoid claims

construction, thus improperly deferring construction to the jury.

                                    BACKGROUND


       Plaintiff’s late hour attempt to add a new product line as accused products is based

upon Kinze’s single auger grain cart publicly introduced and openly displayed by Kinze

beginning in the summer of 2023.

       The newly accused product is the Kinze Model 1051 single auger grain cart.

Beginning August 15, 2023, the Kinze Model 1051 single auger grain (1051) cart was on

display at the Dakotafest farm show where it was openly available to the public to inspect

in great detail throughout the entire event. Further, on September 19-21, 2023, the 1051

was put shown in Plaintiff’s own backyard at The Ohio State University’s Farm Science

Review – a show where Plaintiff was an exhibitor – and it was open and available for

detailed inspection throughout the show. Also, Kinze’s marketing brochure regarding

the 1051 was publicly available and distributed as of October 2023. See Exhibit 1, ¶¶2-4.

       Plaintiff was aware of the 1051 grain carts and spout design at the time of the

Markman hearing. Following the hearing, a brief discussion was held between counsel

as to the differentiation of the 1051 grain cart and the ‘598 Patent. Structural differences

were discussed including the 1051’s differing mechanisms to move the grain to the

discharge auger, differing mechanisms pertaining to the discharge auger, differing

positioning of the discharge auger, and differing flow control spouts.



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       Despite this publicly available information, Plaintiff waited until after the

Markman hearing, on the eve of the Christmas holiday and less than two (2) months

before the fact discovery deadline, to seek amendment (ECF Nos. 68 and 69).

       Mechanical Differentiation – Kinze Single Auger model 1051.

       As an example, using the dual auger Kinze Model 1421, the four distinct

mechanical differences noted above are discussed. The 1421 is pictured opposite the 1051

based upon documentation in Plaintiff’s Amended Complaint.

          Model 1421 (ECF #15, p. 10 of 15)            Model 1051 (ECF #15-2, p. 4 of 4)




       Earlier described to the Court (ECF #27-1, pages 10-11 of 26) and discussed during

the tutorial, the dual auger cart

moves the grain out of the

container via a first auger – a floor

auger shown in red to the right,

which grain is moved forwardly

and out the front wall of the

container into a grain transfer assembly (shown in Gold below). The grain transfer

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assembly operates to move the grain into the discharge auger connector (Part #28 below

and highlighted in Blue in Slide 16 of Kinze’s tutorial above).

       Discharge Auger Connector (#28)              Grain Transfer Assembly (Gold) &
                Circled in Red                        #28 Discharge Auger Connect




       The bottom section of the second auger – the vertical discharge auger – is affixed

to the top of the discharge auger connector as shown circled in Red below. Grain moves

from the grain transfer assembly through the discharge auger connector into the vertical

discharge auger and ultimately through the upper auger for off-loading of the grain cart.

       In contrast, and as shown in Plaintiff’s Amended Complaint (ECF #15-2, p. 4 of 4),

                                                                  Kinze’s   Model     1051

                                                                  single auger grain cart

                                                                  has an entirely different

                                                                  grain         discharge

                                                                  mechanism.           The

                                                                  general   design   of   a

                                                                  single auger grain cart

uses gravity to move the grain to the lowest point within the container called a sump.



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This design is employed by Kinze’s 1051 model single auger grain cart. Unlike the dual

auger grain carts, the vertical discharge auger does not originate and is not positioned

completely outside the container. Rather, the lower section of this single auger is built

into, and is part of, the container and it takes grain from the sump and moves it out of the

container at the left front corner and into an upper auger for discharge. The upper section

of the vertical discharge auger is attached to the lower auger section via a flanged hinge

assembly which allows for the folding for transport and storage.

       Finally, in addition to the differing mechanical structure of the auger assemblies,

the geometry of the spout mechanism as to each design also differs. In particular, the

auger discharge spout on the 1051 single auger cart is rotated thus positioning the hinges

of Kinze’s tip spout such that the spout is not parallel with the sidewall of the auger

container nor horizontal. See Exhibit 1, ¶5. Importantly, these structural differences as to

the positioning of the tip spout of the 1051 will require an examination of new claims

construction terms as later discussed and, further, will require different and additional

expert analysis and opinion.

   PLAINTIFF’s MOTION TO AMEND THE AMENDED COMPLAINT (ECF #69)

                            Amendments Under FRCP 15(a)

       Plaintiff acts as if it may amend as a matter of right – it cannot. While there is a

liberal policy favoring amendments, this Court is vested with discretion and may deny

an amendment to the Complaint which may result, for example, in undue delay, or where

there may be a dilatory, or bad faith motive, or where there may be undue prejudice to



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the non-moving party. Moses.com Sec. Inc. v. Comprehensive Software Sys. Inc., 406 F.3d

1052, 1065 (8th Cir. 2005).

       Here, there would be both undue delay and prejudice to Kinze. As stated in Bell v.

Allstate Life Ins. Co., 160 F.3d 452, 454 (8th Cir. 1998), to deny an otherwise timely motion

to amend “prejudice to the nonmovant must also be shown.” That said, “As a general

rule, the risk of substantial prejudice increases with the passage of time” and therefore

“[t]he reasons for the movant’s delay certainly should be among the elements that the

court evaluates in deciding whether a potentially prejudicial amendment is to be

allowed.” See, 6 Arthur R. Miller et al., Federal Practice and Procedure § 1488 (3d ed. 2020).

       Undue Delay. Undue delay occurs “when a party waits ‘until the eleventh hour

of its case’ to file its motion to amend.” Nitride Semiconductors Co., Ltd. v. Digi-Key Corp.,

2020 WL 13016670 at *3 (D. Minn., Aug. 10, 2020) (citations omitted); see also Dover Elevator

Co. v. Ark. St. Univ., 64 F.3d 442, 448 (8th Cir. 1995) (discovery deadline did not provide

adequate time to deal with the new theory of recovery); Vitale v. Aetna Cas. & Sur. Co., 814

F.2d 1242, 1252 (8th Cir. 1987) (amendment may have required additional discovery on

the new factual allegations as trial date approached); and Vanicek v. Kratt, 2023 WL

2162723 at *5 (D. Neb., Feb. 22, 2023) (“Where an amendment would likely result in the

burdens of additional discovery and delay to the proceedings, a court usually does not

abuse its discretion in denying leave to amend.” Popp Telcom v. Am. Sharecom, Inc., 210

F.3d 928, 943 (8th Cir. 2000)”). In the present case, after months of public disclosure of the

1051 grain cart design at issue, Plaintiff fully participated in the Markman hearing and,

also, conducted an in-person inspection of accused dual auger grain carts at Kinze’s

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manufacturing facility in Williamsburg, Iowa on November 30th. If Plaintiff’s motion is

granted, Plaintiff will certainly seek a second product inspection resulting in additional

expense and delay. Further, and more significantly, the differing mechanical construct of

the 1051 grain cart, including the differing geometry of its spout affixed to the upper

discharge auger section, necessitates that the parties, and ultimately the Court, revisit

claims construction to address entirely new claim terms. These items are the type of

delaying events that support a denial of the Moton to Amend.

       Prejudice to Kinze.

       Markman Process. The claims construction deadline has passed, and the Markman

hearing has been conducted. In that earlier process, the claim terms subject to the parties’

Markman submissions were identified and of import based upon the mechanical

structure of the accused products – the dual auger grain carts. Now, with the differing

mechanical structure of the single auger grain carts, at least two new claim terms need to

be addressed 1 – (1) “a substantially horizontal axis”; and (2) “said horizontal axis

extending substantially parallel to a side wall of said container.”

       Written Discovery. The deadline for written discovery expired in August of 2023.

Thus, Kinze would be deprived of obtaining further discovery from J&M and, potentially,

third parties related to Plaintiff’s claims of infringement of the ‘598 Patent pertaining to




1 Claim 1, 7th element: “said discharge spout supporting a flow control spout for tilting

movement on a substantially horizontal axis askewed with respect to an axis of said auger
within said upper section, with said horizontal axis extending substantially parallel to a
side wall of said container, said control spout movable on said horizontal axis,”
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Kinze’s 1051 single auger grain cart absent further extension of the written discovery

deadline in this case – thus calling for an amendment to the Scheduling Order.

       Damage Discovery. Damage discovery would likewise be negatively affected.

How can Kinze reasonably challenge and prepare a defense to Plaintiff’s damage claims

specific to the single auger grain cart at this late stage? As to the 1051 single auger grain

cart, Kinze submits it would need to evaluate whether and the extent of (a) different

markets (based on volume and need); (b) different retail pricing; (c) different bill of

materials/costs/profits; (d) the valuation/apportionment/replacement part costs

related to the cart as a whole related to (i) the upper auger discharge assembly and (ii)

the spout.

       Experts. Each party has retained experts who are working on the issues present in

the existing case. Introduction of the differing mechanical structure of the single auger

grain cart would amplify the work required of the experts and, further, the need for a

second claims construction process would further hamper the efforts of the experts.

       In sum, it is submitted that substantial fact-based reasons abide in differentiating

the case of infringement directed at the dual auger grain cart versus the case of

infringement directed at the single auger grain cart. These reasons highlight that should

the motion to amend be granted, further undue delays and prejudice will be necessitated

due to the need for further claims construction issues, additional fact discovery, and

expansion of the scope of expert analysis and anticipated opinions.

       Advice of Counsel Defense. In the present case, there is no advice of counsel

defense asserted. In contrast, regarding the development of the 1051 single auger grain

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cart, Kinze may elect to rely upon an advice of counsel defense. If the single auger cart is

added to the case, then it will be necessary to set discovery deadlines for Kinze to decide

whether to waive privilege and for J&M to take discovery related to the same. Further, if

Kinze chooses to waive privilege and rely on opinion of counsel as to the single auger,

then issues may arise as to the scope of said waiver. See, In re EchoStar Commc’n Corp., 448

F.3d 1294 (Fed. Cir. 2006) and In re Seagate Technology, 497 F.3d 1360 (Fed. Cir. 2007).

       If the dual auger and single auger cases are combined, Kinze will be faced with

having to decide on the advice of counsel defense and a corresponding waiver of

privilege without clarity as to the potential impact upon the dual auger grain cart

infringement portion of the case. Further, if Kinze determines to rely upon advice of

counsel regarding the single auger grain cart claims, the jury will be confronted with a

situation where Kinze has an advice of counsel defense as to one accused product, but

not others – a situation which may cause jury confusion as to willfulness determinations

and further, improperly imply, that Kinze had a legal obligation to seek out advice of

counsel regarding the dual auger grain carts. See 35 U.S.C. § 298 - Failure to obtain or

present to court/jury advice of counsel regarding the asserted patent “may not be used

to prove that the accused infringer willfully infringed the patent . . . .”

       Subsequent Remedial Measure. Kinze has determined to revert to the original

discharge spout geometric design of the Model 1051 grain cart for its 2024 manufacturing.

See, Exhibit 1, ¶6. Thus, an issue of subsequent remedial measure may arise, under FRE

407. The policy underlying the rule is to encourage, not discourage post-event

modifications. See generally, Herndon v. Seven Bar Flying Service, Inc., 716 F.2d 1322, 1327

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(10th Cir. 1983), cert. denied, 466 U.S. 958, 104 S. Ct. 2170, 80 L. Ed. 2d 553 (1984). If Plaintiff

were allowed to introduce evidence related to modification of the spout design for the

Model 1051 carts in a trial involving the Accused Products (Kinze dual auger carts), this

would adversely affect Kinze’s position vis-à-vis the dual auger carts as it may be viewed

and argued by Plaintiff that the change of the Model 1051 cart is indicative of

infringement of the ‘598 Patent by the dual auger carts.

       Potential Jury Confusion. In addition to potential prejudice pertaining to the

advice of counsel defense, there is also the risk of jury confusion discussing two differing

structures, including structural/geometric differences related to the tipping spout

positioning. Further, each design developed at differing times and in differing ways.

Finally, each design would present separate and distinct disputes as to infringement, the

damages timeline, and claim terms.

                                 Amendments under FRCP 16

       Realistically, Plaintiff’s Motion to Amend is untenable given the expiration of the

written fact discovery deadline in August 2023 as well as the conclusion of the Markman

procedures in November. While depositions may occur to the deadline of February 2,

2024, the ability to obtain written discovery as to single auger grain cart issues is gone.

Written discovery predating depositions is an important element of case preparation, and

Kinze would be denied this opportunity given the present deadlines as set forth in the

Scheduling Order. Further, reopening the Markman process would call for modification

of the Court’s prior Order and deadlines pertaining to claims construction, same of which

was a part of the Scheduling Order. These changes would necessitate a new trial date,

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new trial ready date, new dispositive motions date, new expert disclosure dates, and new

fact discovery deadlines.

       As a result, Plaintiff’s Motion to Amend may practically be viewed as requiring a

modification to the Scheduling Order under FRCP 16. Under FRCP 16, such a

modification is based upon Plaintiff establishing good cause. Under FRCP 16(b)(4) “[a]

schedule may be modified only for good cause and with the judge's consent.” See also

Sherman v. Winco Fireworks, Inc., 532 F.3d 709, 715 (8th Cir. 2008).

       There is no good cause here given how far the present case has progressed in

discovery and claims construction, given the mechanical differences between the accused

dual auger grain carts and Kinze’s single auger grain cart, given the potential new issue

of advice of counsel defense as relates to the single auger grain cart, and given the

potential for jury confusion.

                 PLAINTIFF’S MOTION TO AMEND PRELIMINARY
                    INFRINGEMENT CONTENTIONS (ECF #68)

       Kinze further resists this motion by Plaintiff. The infringement contentions

deadline was January 27, 2023. Plaintiff has cited to Philips N. Am. LLC v. Fitbit LLC, No.

CV 19-11586-FDS, 2021 WL 5417103, at *5 (D. Mass. Nov. 19, 2021) to support its motion

to amend its infringement contentions. Critically, however, inclusion of newly accused

product in Philips was based, in part, on a determination that the newly launched

products “are alleged to infringe for the same reason as the currently accused products.”

The Phillips Court further denied the motion which finding included the need to reopen

discovery. Id. 2021 WL 5417103 at *4. As substantially discussed above, this is not the


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factual presentation in this case where the structures differ substantially and invoke

additional claim terms for the claim construction process.

       There is prejudice to Kinze in allowing supplementation of the infringement

contentions as said contentions solely involve and focus upon Kinze’s Model 1051 single

auger grain cart. The undue delay and, more significantly, the prejudice to Kinze invoked

by the addition of these new contentions given the status of the case presents compelling

reasons to deny said motion. Finisar Corp. v. DirecTV Group, Inc., 424 F. Supp. 2d 896, 901–

02 (E.D. Tex. 2006) (finding prejudice where amendment would add additional expense

for new expert theories and extend discovery deadlines); see also Rd. Widener, LLC v.

Robert H. Finke & Sons, Inc., 579 F. Supp. 3d 345, 355 (N.D.N.Y. 2022) (finding prejudice

when “new contentions would very likely require additional claim constructions before

the issues related to infringement can be litigated, resulting in additional time and

expense for both parties”); Definitive Holdings, LLC v. Powerteq LLC, 2022 WL 798863, *2–

*3 (D. Utah 2022) (denying leave to amend infringement contentions to address a new

accused product where the product was publicly available more than seven months

before the patentee had served amended final infringement contentions, the court finding

that the patentee failed to show diligence in discovering the product, the court rejecting

the excuse that the accused infringer's failure to respond substantively to an interrogatory

requiring identification of products.); Abbott Diabetes Care Inc. v. Roche Diagnostics Corp.,

2007 WL 2221029, at *1 (N.D. Cal. July 30, 2007) (finding the plaintiff failed to meet the

burden to demonstrate good cause after waiting five months); Pavo Sols. LLC v. Kingston



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Tech. Co. Inc., 2018 WL 5099294, at *2 (C.D. Cal. July 18, 2018) (delay of two months

leading to finding of lack of diligence).

                                      CONCLUSION

       Here, Plaintiff’s failure to timely raise the motion has resulted in undue delay.

Additionally and significantly, undue prejudice to Kinze appears inevitable if the motion

to amend is granted as discovery deadlines and claims construction deadlines have

already passed. Kinze would not be able to fully discover and/or defend as to the claims

of J&M vis-à-vis the single auger grain cart. The same reasoning and prejudice operates

as the basis for denial of Plaintiff’s Motion to Amend Preliminary Infringement

Contentions. Accordingly, Kinze requests the Court deny both of Plaintiff’s motions (ECF

#68 & ECF #69) amend as the single auger and dual auger grain carts are differing

products which require separate discovery, claim construction, and consideration under

the ‘598 Patent.



                                             Respectfully submitted,

                                             McKee, Voorhees & Sease, PLC

                                             /s/ Glenn Johnson
                                             Glenn Johnson




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                             CERTIFICATE OF SERVICE

      I hereby certify that on January 12, 2024, I filed the foregoing with the Clerk of
Court using the ECF system which will send notification of such filing to the following:


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